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                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF COLUMBIA




UNITED STATES OF AMERICA                     )
                                             )
         v.                                  )       CRIMINAL NO. 21-117 (KBJ)
                                             )
                                             )
ALEX KIRK HARKRIDER                          )

                                    NOTICE OF APPEARANCE

         COMES NOW Kira Anne West and enters her appearance as court appointed counsel

for Mr. Alex Kirk Harkrider in the above captioned case.

                                             Respectfully submitted,

                                             KIRA ANNE WEST

                                      By:            /s/
                                             Kira Anne West
                                             DC Bar No. 993523
                                             712 H Street N.E., Unit 509
                                             Washington, D.C. 20002
                                             Phone: 202-236-2042
                                             kiraannewest@gmail.com


                                     CERTIFICATE OF SERVICE

         I hereby certify on the 23rd day of March, 2021 a copy of same was delivered to the

parties of record, by email pursuant to the Covid standing order and the rules of the Clerk of

Court.

                                                        /S/
                                                     Kira Anne West
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